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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division


NAOMI M.THWEATT,

                     Plaintiff,

V.                                              Case No. 3:18cv574-HEH


MEGAN J. BRENNAN,in her official
capacity as POSTMASTER GENERAL,
UNITED STATES POSTAL SERVICE,

                     Defendant.


                              MEMORANDUM OPINION
(Reviewing Defendant's Motion to Dismiss as a Motion for Summary Judgment and
                     Granting Summary Judgment for Defendant)

        Naomi M. Thweatt {pro se "Plaintiff) filed this action against Megan J. Brennan

("Defendant") in her official capacity as Postmaster General of the United States Postal

Service ("Postal Service"). Plaintiffs Complaint(ECF No.5)alleges discrimination

under Title VII ofthe Civil Rights Act of 1964("Title VII") and the Americans with

Disabilities Act("ADA"). This matter comes before the Court on Defendant's Motion to

Dismiss(ECF No. 9), which contains a notice consistent with the requirements of

Roseboro v. Garrison, 528 F.2d 309(4th Cir. 1975),see E.D. Va. Local Civ. R. 7(K), as

well as a supporting Memorandum of Law(ECF No. 10). Subsequently, Plaintiff filed a

letter with the Court(ECF No. 11), which the Court construes as Plaintiffs Response in

Opposition to the Motion to Dismiss. Accordingly, the Court finds this matter is ripe for

review, and the Court will dispose of it without a hearing, see E.D. Va. Local

Civ. R. 7(J). For the reasons detailed below, the Court has reviewed Defendant's Motion
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as one for summary judgment and will grant summary judgment in Defendant's favor.

                                      I.    BACKGROUND


        Plaintiff is an African-American female who works as a mail clerk at the Postal

Service's Richmond Processing and Distribution Center, located in Sandston, Virginia.

(Compl. 3-4.) On August 29,2017, Plaintiff contacted a Postal Service Equal

Employment Opportunity("EEO")counselor to initiate pre-complaint counseling.

(CompL,Ex. 1 ("PL's Ex."), EOF No. 5-1 at 29.) In her pre-complaint counseling.

Plaintiff made three separate allegations:(1)on August 15, 2017,Plaintiff learned that

she had not been paid for work on August 5, 2017 and August 11, 2017;(2)on

August 22, 2017, Plaintiffs request for emergency annual leave("EAL")was denied and
she was marked as away without leave("AWOL")for the hours she was absent; and(3)

on an unspecified date. Plaintiff was taken offthe clock for the last two hours of her tour.
(Mem. Supp. Def.'s Mot., Ex. 1 ("Def.'s Ex. 1"), EOF No. 10-1 at 1.)'
        On November 27, 2017,the Postal Service EEO counselor sent Plaintiff a letter

(the "November 2017 letter") informing Plaintiff that there was no resolution to her
counseling request, and, as a result. Plaintiffs inquiry would expire if she did not take

further action. {Id.) In the alternative. Plaintiff could file a formal EEO complaint with

the Postal Service's National EEO Investigative Services Office("NEEOISO"). {Id.)



'Defendant has attached several exhibits to her Memorandum in Support that are not included in
Plaintiffs Complaint. The Court will consider Defendant's exhibits because they are relevant to the
resolution ofthis case and because Plaintiff has not disputed their accuracy in her Response in
Opposition. Therefore, because the Court is considering information beyond the four comers ofthe
Complaint,the Court will review Defendant's Motion as one for summary judgment under Rule 56 ofthe
Federal Rules of Civil Procedure. See Fed. R. Civ. P. 12(d).
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The November 2017 letter stated,"If you opt to file a formal complaint, you have 15 days

from the date of receipt ofthis letter to file a timely formal complaint. Your complaint

could be subject to dismissal in accordance with 29 CFR Part 1614.107 if not filed within

the 15 day time limit." {Id.) Attached to the November 2017 letter, the EEO counselor

provided Plaintiff with a Postal Service Form 2579-A, a "Notice of Right to File

Individual Complaint," id. at 5, as well as Form 2565 for filing a"EEO Complaint of

Discrimination in the Postal Service," id. at 3-4. Defendant has attached to her

Memorandum in Support a Postal Service delivery confirmation, which was signed by

Plaintiff, confirming that she received these materials on December 2,2017. (Def.'s Ex.

2, ECFNo. 10-2.)

        On January 24, 2018, more than a month after Plaintiff received the November

2017 letter. Plaintiff sent a handwritten inquiry to the Postal Service, alleging she filed a

formal complaint on December 11, 2017 and inquiring about its status ("January 2018

letter"). (Def.'s Ex. 3, ECF No. 10-3 at 1.) With the January 2018 letter. Plaintiff

attached a copy of an unsigned Form 2565 ("formal EEO complaint" or "formal

complaint")^ and a signed Form 2579-A. {Id. at 2-3.) Both forms were dated


^ The allegations in Plaintiffs formal complaint were different from the allegations that Plaintiff raised
during her pre-complaint counseling. Plaintiff alleged:(1)on January 11,2017, Plaintiff became aware
that she did not receive holiday pay;(2)on May 11,2017, Plaintiffs request for light duty was ignored;
and (3)on September 8, 2017, Plaintiff was taken off the clock two hours before the end of her tour, even
though she was still working. (Pl.'s Ex. 1 at 29.)
         Regarding Plaintiffs allegation that she did not receive holiday pay, the NEEOISO concluded the
claim should be "dismissed in accordance with 29 C.F.R. § 1614.107(a)(1)" because it was previously
"pending before or has been decided by the agency or Commission." (PL's Ex. at 34.) Specifically,
Plaintiff had filed this claim in a separate complaint, which she withdrew on April 26, 2017. {Id. at 32.)
To the extent that Plaintiff seeks to bring this claim in the current matter, it appears that a similar principle
would bar that claim because she did not raise it at the beginning ofthe EEOC process. See Jones v.
Calvert Grp.. Ltd., 551 F.3d 297,300(4th Cir. 2009)("Only those discrimination claims stated in the
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December 9, 2017. {Id) The January 2018 letter and Plaintiffs formal complaint were

postmarked on January 24,2018, and the Postal Service NEEOISO received the items on

January 29, 2018. (Def.'s Ex.4,ECF No. 10-4.)

       On February 14, 2018, the NEEOISO dismissed Plaintiffs formal EEO complaint

because it was untimely filed after the 15-day deadline. {Id, at 29, 32-33.) The Notice of

Dismissal stated,"The envelope containing your formal complaint contained a clear

postmark of January 24, 2018, which was 53 days after the last day ofthe period as per

29 C.F.R. 1614.604(d)." {Id. at 33(emphasis in original).) Plaintiff appealed the

Notification ofDismissal to the Equal Employment Opportunity Commission's

("EEOC")Office ofFederal Operations("OFO"),and OFO affirmed the dismissal of

Plaintiffs untimely formal complaint.

                              11.    STANDARD OF REVIEW


       It is well established that "Title VII directs federal employees to exhaust

administrative remedies before filing suit" in federal court. Stewart v. lancu,912 F.3d

693,699(4th Cir. 2019)(citing Pueschel v. United States, 369 F.3d 345, 353(4th Cir.

2004)). However,this requirement does not deprive a federal court of subject matter

jurisdiction in all cases. As the Supreme Court has stated,"filing a timely charge of

discrimination with the EEOC is not a jurisdictional prerequisite to suit in federal court,

but a requirement that, like a statute of limitations, is subject to waiver, estoppel, and




initial charge, those reasonably related to the original complaint, and those developed by reasonable
investigation ofthe original complaint may be maintained in a subsequent Title VII lawsuit."(quoting
Evans v. Techs. Applications & Serv. Co., 80 F.3d 954,963 (4th Cir.1996)).

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equitable tolling." Zipes v. Trans World Airlines, Inc., 455 U.S. 385, 393(1982);see

also Jones v. Calvert Grp., Ltd., 551 F.3d 297, 301 n.2(4th Cir. 2009)(noting that the

untimeliness of an administrative charge does not impact federal jurisdiction over a Title

VII claim).

       Applying these principles,"a motion to dismiss for failure to timely exhaust

administrative remedies must be considered under Rule 12(b)(6)... or converted to a

motion for summary judgment under Rule 56," if, as in this case, materials outside the

pleadings are presented to and not excluded by the Court. Stores v. Brennan, No. 7:16-

cv-88, 2016 WL 4939362, at *2(W.D. Va. Sept. 14, 2016)(emphasis added)(first citing

Fed. R. Civ. P. 12(d); then citing Tewksbury v. Ottaway Newspapers, Inc., 192 F.3d 322,

325 n.l (2d Cir. 1999)(converting defendant's motion to one for summary judgment

where the defendant submitted material extrinsic to the complaint); and then citing Rohan

V. Networks Presentation LLC, 175 F. Supp. 2d 806, 809(D. Md. 2001)(same)). In

addition, where a party has notice that a motion to dismiss may be treated as a motion for

summary judgment, based upon the offering of exhibits beyond the pleadings,see Fed. R.

Civ. P. 12(d), a court is not formally required to notify the parties that the motion will be

treated as one for summary judgment. See Laughlin v. Metro. Washington Airports

Autk, 149 F.3d 253, 261 (4th Cir. 1998).

       Rule 56 of the Federal Rules of Civil Procedure states that a court "shall grant

summary judgment if the movant shows that there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law." Fed. R. Civ. P.

56. The relevant inquiry in summary judgment analysis is "whether the evidence

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presents a sufficient disagreement to require submission to ajury or whether it is so one

sided that one party must prevail as a matter of law." Anderson v. Liberty Lobby, Inc.,

All U.S. 242,251-52(1986). The Court, in reviewing the matter, must view the facts in

the light most favorable to the non-moving party. See id. at 255;see also Matsushita

Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587(1986).

                                  III.   ANALYSIS


       Liberally construed, Plaintiffs pro se Complaint alleges claims of discrimination,

retaliation, and hostile work environment, in violation of Title VII, as well as

discrimination based upon an unspecified disability, in violation of the ADA. As

previously stated, a federal employee must first exhaust her administrative remedies with
the EEOC before filing a civil suit in federal court. lancu,912 F.3d at 699. Similarly,

"the ADA incorporates [Title VITs] enforcement procedures," and requires a plaintiffto

exhaust administrative remedies before pursuing a suit in federal court. Sydnor v. Fairfax

Cty., 681 F.3d 591, 593(4th Cir. 2012);jee also 42 U.S.C § 2000e-16.

       "Regulations promulgated by the[EEOC]establish the applicable administrative

procedures that a federal employee must exhaust prior to filing suit." Belgrave v. Pena,

254 F.3d 384, 386(2d Cir. 2001)(per curiam). These regulations require an aggrieved

federal employee, who believes she has been subject to discrimination, to consult with an

EEC counselor before filing a formal complaint with the agency. 29 C.F.R. §

1614.105(a). The consultation must occur within 45 days ofthe alleged discriminatory

act. 29 C.F.R. § 1614.105(a)(1). Ifthe matter is not resolved after a mandatory

counseling period, then the employee must file a formal written complaint within 15 days

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ofreceiving notice of the right to file a complaint from the EEO counselor. 29 C.F.R. §

1614.106(a)-(b). Failure to file a formal complaint within this period is grounds for the

agency to dismiss the complaint. 29 C.F.R. § 1614.107(a)(2).

      Ifthe agency considers a formal EEO complaint that was untimely filed, that

consideration does waive the government's ability to raise timeliness as an affirmative

defense in federal court. See, e.g., Pena,254 F.3d at 387; Blount v. Shalala, 199 F.3d

1326(4th Cir. 1999)(per curiam)(citations omitted); Bowden v. United States, 106 F.3d

433,438(D.C. Cir. 1997)("Although agencies do not waive a defense of untimely

exhaustion merely by accepting and investigating a discrimination complaint, we have

suggested that ifthey not only accept and investigate a complaint, but also decide it on

the merits—all without mentioning timeliness—^their failure to raise the issue in the

administrative process may lead to waiver ofthe defense when the complainant files

suit.")(citations omitted).

       In the current matter, both the Postal Service's NEEOISO and the OFO dismissed

Plaintiffs formal complaint because it was filed outside the 15-day filing period. See 29

C.F.R. § 1614.106 (a)-(b). Consequently, Defendant also argues that Plaintiffs

Complaint must be dismissed because it was untimely, and Defendant has proffered

evidence that supports this conclusion—evidence that the Court has considered.

Specifically, the Court has considered the Postal Service delivery confirmation, signed by

Plaintiff, which shows that she received the "Notice of Right to File Individual

Complaint" on December 2, 2017. (Def. Ex. 2.) Likewise,the Court gives weight to

Defendant's Exhibit 4, which shows that Plaintiff did not send her formal EEO complaint
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to the NEEOISO until January 24, 2018. Finally, the Court has considered the opinions

ofthe Postal Service and the OFO, both of which dismissed Plaintiffs formal EEO

complaint because it was untimely filed.

       On the other side ofthe ledger, only Plaintiffs January 2018 letter—^which is not a

sworn statement—supports the possibility that Plaintifftimely filed her formal complaint.

(See Def.'s Ex. 3.) Plaintiff has provided no affidavits, no sworn statements, and no other

evidence to dispute Defendant's position that she failed to timely exhaust her

administrative remedies. Plaintiff has also failed to offer any justification as to why the

15-day filing period should have been equitably tolled until January 24,2018, when the

Postal Service received Plaintiffs formal EEO complaint.

       This absence of any persuasive evidence in Plaintiffs favor is particularly stark

given the content ofthe Roseboro notice in Defendant's Motion. The notice stated in

relevant part:

       In any response you file, you must identify all facts stated by the defendant
       with which you disagree and must set forth your version of the facts by
       offering affidavits (written statements signed before a notary public and
       under oath) or by filing sworn statements (bearing a certificate that is
       signed under penalty of perjury) of your own and of any other witness
       and/or by submitting other responsive materials, as appropriate.

(Def.'s Mot. 2(emphasis added).) That notice also informed Plaintiff that Defendant's

Motion could be dispositive and result in the dismissal of her claims. {Id.)

       Plainly stated, the summary judgment standard requires a court to consider

whether '^evidence presents a sufficient disagreement" to submit a case to a jury, or

whether the evidence is so "one-sided that one party must prevail as a matter oflaw."
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Anderson,477 U.S. at 251-52(emphasis added). In the current matter, the evidence is

sufficiently one-sided to warrant the Court finding in Defendant's favor.

                                   IV.     CONCLUSION


        Because Plaintiff has not provided any evidence to support a finding that her

formal EEC complaint was timely, or to support a finding that it was subject to equitable

tolling, the Court finds that Plaintiff failed to timely exhaust her administrative remedies.

Therefore, Plaintiffs Complaint is time-barred, and the Court will grant summary

judgment in favor of Defendant.^ An appropriate Order will accompany this

Memorandum Opinion.



                                                              AJrtIK          /s/
                                                              Henry E. Hudson
                                                              Senior United States District Judge
Date:
Richmond, Virginia




^ The Court need not address the remainder of Defendant's arguments offered under Rule 12(b)(6), which
are well taken, because the Court has considered Defendant's Motion under Rule 56 ofthe Federal Rules
of Civil Procedure.
